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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §           CASE NO.2:10-CR-5-4 (TJW-CE)
                                                   §
 ISACHAR MONCADA GUERRERO

               FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                    BEFORE THE UNITED STATES MAGISTRATE JUDGE

          Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

 administration of a plea of guilty and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

          On September 8, 2011, this cause came before the undersigned United States Magistrate

 Judge for a plea of guilty and allocution of the defendant in a third superseding indictment charging

 the defendant in Count 1 with a violation of 21 U.S.C. § 846, conspiracy to possess with intent to

 distribute heroin and cocaine. After conducting said proceeding in the form and manner prescribed

 by FED . R. CRIM . P. 11, the undersigned finds that:

          a.      the defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

 United States Magistrate Judge, subject to a final approval and imposition of sentence by the District

 Court;

          b.      the defendant and the government have entered into a plea agreement which has been

 filed and disclosed in open court pursuant to FED . R. CRIM . P. 11(c)(2);

          c.      the defendant is fully competent and capable of entering an informed plea, that the

 defendant is aware of the nature of the charges and the consequences of the plea, and that the plea
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 of guilty is a knowing and voluntary plea supported by an independent basis in fact containing each

 of the essential elements of the offense; and

         d.        the defendant understands his constitutional and statutory rights and wishes to waive

 these rights, including the right to a trial by jury and the right to appear before a United States

 District Judge.

         IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

 and the Guilty Plea of the defendant and that Isachar Moncada Guerrero should be finally adjudged

 guilty of that offense.

         On September 30, 2011, the parties filed a Joint Notice of Waiver of Time to Respond (Dkt

 No. 292), therefore the District Judge may act on this matter immediately.

         SIGNED this 30th day of September, 2011.




                                                         ___________________________________
                                                         CHARLES EVERINGHAM IV
                                                         UNITED STATES MAGISTRATE JUDGE




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